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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION


 GREGORY G. SCHULTZ,


 v.                                     Case No. 8:02-cr-111-T-17MAP
                                                 8:10-cv-1612-T-17MAP

 UNITED STATES OF AMERICA.



                                         ORDER

        This cause is before the Court upon the Government<s motion to dismiss Schultz<s

 motion to vacate, set aside, or correct an allegedly illegal sentence pursuant to 28 U.S.C.

 § 2255. D-cv-9.

        The Government moves for dismissal of this action pursuant to this Court’s Order

 of August 20, 2010, and Rule 3.10, Local Rules, United States District Court, Middle District

 of Florida for Schultz<s failure to file an amended motion by September 10, 2010, as

 directed by the Court.

                                         Background

        On July 21, 2010, Schultz filed a motion, pursuant to 28 U.S.C. § 2255, to vacate,

 set aside, or correct his sentence. D-cv-1. On August 16, 2010, Schultz filed motions

 asking this Court for leave to amend his section 2255 motion and to submit his amended

 motion with excess pages. D-cv-5, D-cv-6. On August 20, 2010, this Court granted Schultz

 the relief he requested in allowing him to file a 30-page memorandum of law, along with his

 section 2255 motion. D-cv-7. As part of that Order, this Court specifically cautioned Schultz

 that his “failure to file the amended motion to vacate within the allotted time [specified as
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 on or before September 10, 2010] will result in the dismissal of this action, without further

 notice, and without prejudice, for Defendant’s failure to prosecute under Rule 3.10, Local

 Rules, United States District Court, Middle District of Florida.” Id.

        As of the date of this order, Schultz has failed to comply with the Court’s Order of

 August 20, 2010, in that, Schultz failed to file an amended motion to vacate on or before

 September 10, 2010. The Court specifically warned Schultz that his failure to comply with

 the Order would result in a dismissal of this action without further notice. Notwithstanding

 the Court’s clear and unambiguous Order, Schultz declined to file an amended motion

 within the allotted time. Thus, his failure to do so violates this Court’s Order and Rule 3.10,

 Local Rules, United States District Court, Middle District of Florida. See, e.g., United States

 v. Martin-Trigona, 627 F.2d 680 (5th Cir. 1980).

        Accordingly, the Court orders:

        That the Government<s motion to dismiss Schultz<s 28 U.S.C. § 2255 motion to

 vacate, set aside, or correct an allegedly illegal sentence (D-cv-9) is granted. The motion

 to vacate is dismissed, without prejudice. The Clerk is directed to close this case.

                          CERTIFICATE OF APPEALABILITY AND

                   LEAVE TO APPEAL IN FORMA PAUPERIS DENIED

        IT IS FURTHER ORDERED that Defendant is not entitled to a certificate of

 appealability. A prisoner seeking a motion to vacate has no absolute entitlement to appeal

 a district court's denial of his motion. 28 U.S.C. § 2253(c)(1). Rather, a district court must

 first issue a certificate of appealability (COA). Id. “A [COA] may issue AAA only if the applicant

 has made a substantial showing of the denial of a constitutional right.” Id. at § 2253(c)(2).

 To make such a showing, Defendant “must demonstrate that reasonable jurists would find

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 the district court's assessment of the constitutional claims debatable or wrong,” Tennard

 v. Dretke, 542 U.S. 274, 282 (2004) (quoting Slack v. McDaniel, 529 U.S. 473, 484 (2000)),

 or that the issues presented were ‘adequate to deserve encouragement to proceed further.

 Miller-El v. Cockrell, 537 U.S. 322, 335-36 (2003) (quoting Barefoot v. Estelle, 463 U.S.

 880, 893 n. 4 (1983)). Defendant has not made the requisite showing in these

 circumstances. Finally, because Defendant is not entitled to a certificate of appealability,

 he is not entitled to appeal in forma pauperis.

        ORDERED at Tampa, Florida, on September 30, 2010.




 AUSA: Jay G. Trezevant
 Gregory G. Schultz




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